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UN|TED STATES DlSTR|CT COURT

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.v. 2:04cR20213-o1 -Ml wm t 1, i,:;?::PHlS

BRADFORD GENE W|LL|AMS
' Robert M. Brannon. Jr.. Retained
Defense Attorney
295 Washington Avenue, #3
Memphis, TN 38103

 

JUDGMENT lN A CRlMlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Apri| 21, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tiue & section MM offense Me_r§_j
Concluded
21 U.S.C. § 846 Attempt to Nlanufacture 06/08/2004 1

Nlethamphetamine

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996. ‘

Counts 2 through 4 are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/07/1975 August 18, 2005

Deft’s U.S. Nlarshal No.: 19774-076

Defendant’s Mai|ing Address:
512 Cedar Grove Road Ext.

Ripiey. TN 38063 /Q)`() M( QM
J N PHiPPs MccALLA
u iTED s ATEs olsTRlcT Jur)cE

August 5 , 2005

 

This document entered on the docket sheet in compliance

with ama ss ana/or 32{5) rach on 319 '05

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 21 Months (or 1 Year and 9 N|onths).

The Court recommends to the Bureau of Prisons:

1. Strongfy recommends the defendant be incarcerated at the Federa| Prison
Camp in Mi||ington, TN due to the defendants family situation.

2. The defendant be allowed to participate in the 500-hour intensive drug
rehabilitation treatment program.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Nlarshal.

RETU RN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release
for a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal,
state or local crime and shall not possess a firearm, ammunition, or destructive device
as defined in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDIT|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation
officer;
2. The defendant shall report to the probation officer as directed by the court or probation officer and

shall submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation ofhcer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
as directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not
associate with any person convicted of a felony unless granted permission to do so by the probation
officer;

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere

and shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a Hne or a restitution obligation, it shall be a condition of supervised

release that the defendant pay any such fine or restitution in accordance with the Scheduie of
Payments set forth in the Criminai Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submit to drug testing and drug treatment programs as directed by
the Probation Oche.

2. The defendant shall cooperate with DNA collection as directed by the Probation Oche.

3. The defendant shall seek and maintain full-time employment

CRlMlNAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment pursuant to 18 U.S.C. § 3612(f). A|| of the
payment options in the Scheduie of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Totai Fine Totai Restitution
$1 00.00

The Speciai Assessment shall be due immediate|y.

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sTATE DlSTRIC COUR - WETERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20273 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

Robert M. Brannon

LAW OFFICE OF ROBERT M. BRANNON
295 Washington Avenue

Ste. 3

Memphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

